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                                                                                            July 20, 2018

Mrs. Mary Quinn Cooper, Esq.
McAfee & Taft
1717 S. Boulder, Suite 900
Tulsa, OK 74119

                                  Expert Report of Kathryn F. Anderson
               Richard Faust, as the Personal Representative of the Estate of .),
                       Ashley Faust, individually, and Justin Frederick, individually
                  v. General Motors, LLC, Autoliv ASP, Inc., and Delphi Automotive, LLC

Dear Mrs. Cooper:


INTRODUCTION
This report contains my assessment of the design, development, and performance of the restraints
systems in the subject vehicle, a 2012 Chevrolet Malibu sedan (VIN 1G1ZD5EU0CF383419), as well as
the restraint system performance during the subject crash that occurred on March 17, 2014. This report
also addresses the history and evolution of air bags, and sensing system technology. Ms. Ashley Faust
was driving the subject vehicle at the time of the crash, and her daughter, .) was riding in the
right front passenger seat.


QUALIFICATIONS
I have a Bachelor of Science degree in Engineering from Purdue University.                                    The focus of my
undergraduate studies was in biomedical engineering through the Interdisciplinary Engineering school at
Purdue University. I also have a Master of Science degree in Biomedical Engineering (Biomechanics) from
the University of Michigan.


I have been employed by General Motors since 1991, and am currently a Senior Technical Consultant and
GM Technical Fellow – Occupant Protection and Biomechanics in the Engineering Analysis group within
our Global Vehicle Safety organization. In the past, I have been responsible for the development of front
and rear seat occupant protection systems and have conducted crash and sled tests to assess the
performance of these systems. I have also been responsible for the design release of driver air bags,
passenger air bags, and steering wheels. I have knowledge and experience in the development, testing,
and design of the components that comprise a frontal impact restraint system. I am also familiar with the
design, development, and testing of the General Motors GMX386 product lines and will testify about this if
asked.



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                                                                                                                    Exhibit 2
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        Deposition of Hamed Sadrnia, taken December 12, 2017;

        Deposition of Elizabeth Kiihr, taken May 4, 2018;

        State of Oklahoma Certificate of Death for Kaitlyn Marie Faust;

        Office of the Chief Medical Examiner report for Kaitlyn Faust;

        Oklahoma University Medical Center medical records for Ashley Faust;

        Oklahoma University Medical Center medical records for Kaitlyn Faust.



THE INCIDENT
On March 17, 2014, at approximately 4:04 pm, 31-year-old Ashley Faust was driving a 2012 Chevrolet
Malibu and was traveling Northeast on Jones Spencer Road, near NE 71st Street, in Oklahoma City,
Oklahoma (reference Figure 1). The posted speed limit in this area, on Jones Spencer Road, is 50 mph.
11-year-old K.F. was riding in the right front passenger seat.




                           Figure 1 – Official Oklahoma Traffic Collision Report Diagram Supplemental




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The police narrative of the subject incident as reported in the Official Oklahoma Traffic Collision Report
indicated, “Unit-1 was traveling in a north east direction on Jones Spencer Road. Unit-1 driver crossed the
centerline and was driving in the south west lane. Unit-1 continued in the north east direction right of the
center line. Unit-1 departed the roadway and collided with a tree. At this time it is not clear why the driver
departed the roadway.” Reference Figure 2.




                         Figure 2 – Police Photo Taken of the Front of Subject Vehicle at the Crash Scene


Officer William Dale Scruggs additionally reported in his narrative of the subject crash and about the
occupants of the subject vehicle, “Unit-1 driven by Ashley Faust with K.F. as the passenger were
traveling north east bound on Jones Spencer Rd. For some unknown reason the driver crosses the center
line then drives off the roadway. There is no indication that the driver swerved to avoid anything in the
roadway. The tracking of the car was straight. It appears that the driver tried to take some evasive action
by steering right and applying the brakes with in the last 40 ft. before the collision. This caused the impact
to be more to the driver’s side of the vehicle.                It was noted that both occupants were wearing their
seatbelts. The passenger side air bag did not deploy. It is not clear at this time why.” Reference Figures 3
and 4.


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 Figure 3 – Police Photo Taken of Passenger (Right) Side            Figure 4 – Police Photo Taken of Driver’s (Left) Side
            of Subject Vehicle at the Crash Scene                              of Subject Vehicle at the Crash Scene




Upon his arrival on scene, Officer Scruggs was advised that both the driver and right front passenger had
been transported in critical and unstable condition to Oklahoma University (OU) Medical Center.


REPORTED INJURIES
K.F., the right front passenger, was fatally injured as a result of the above-mentioned crash event.
K.F. was 11 years old, and reportedly 148 cm (4’10”) tall and weighed 47.1 kg (103.62 lbs.) on
3/10/2014, seven days prior to the crash event (per OUCP Medical Records of an office visit at the OUCP
Sooner Pediatric Clinic with Dr. Geoffrey Lowe). Based on a review of the documents listed above, it was
reported that K.F. was found belted in the right front passenger seat, and was unresponsive at the
scene. She had reportedly vomited prior to EMS arrival, and vomited again after she was removed from
the vehicle. EMS personnel noted that she had swelling to the left side of her face, blood coming from her
right ear, and had an increased rate of shallow breathing (tachypnea). It was also reported that she had
soft tissue swelling and bruising of her right lower abdomen, and abrasions on her right hip. Upon EMS
arrival at the scene, K.F. had a Glasgow Coma Score of 6 with dilated pupils (non-reactive right pupil,
and sluggish response from left pupil). She was transported by ground ambulance to OU Medical Center,
and exhibited signs of decorticate posturing while enroute. K.F. was pronounced dead three days
after the subject crash, on March 20, 2014, and her immediate cause of death, as reported by Medical
Examiner, Dr. Chai Choi, was head and neck injuries due to blunt force trauma.




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According to OU Medical Center records, K.F. sustained the following injuries as a result of the
March 17, 2014 subject crash:


1) Diffuse subarachnoid hemorrhage
2) Left-sided subdural hematoma
3) Diffuse cerebral edema with midline shift
4) Punctate left cerebral contusion
5) Right temporal bone fractures involving anterior carotid canal with associated pneumocephalus
6) Right internal carotid artery dissection
7) Left temporal bone (squamous portion) and left zygomatic process fractures
8) Left maxillary sinus posterior wall and base of pterygoid plate fractures
9) Left inferior orbital rim fracture
10) Bilateral mandible fractures without TMJ dislocation
11) Soft tissue swelling and bruising to left side of face and laceration to left side of head
12) Tongue laceration and small facial lacerations
13) Hemotympanum in both ears and nasal hemorrhage
14) Left pulmonary contusions
15) Trace bilateral pneumothoraces
16) Upper extremity, chest, and abdominal abrasions and contusions
17) Right hip soft tissue swelling and abrasion, and hemoperitoneum within right pelvis
18) Lower extremity abrasions and contusions
19) Possible cervical spine ligamentous injury
20) Possible grade 1 liver injury

The driver, 31-year-old Ashley Faust, was reportedly trapped in the subject vehicle at the scene and
required a prolonged extrication. EMS personnel noted she was belted and the driver’s frontal air bag had
deployed. She was noted to have external signs of severe facial trauma, and right-sided leg injuries. She
was alert, combative, and confused, and reportedly awake and talking at the scene. Ashley was initially
assessed at the scene by EMS with a Glasgow Coma Score of 10. She was also transported to OU
Medical Center.


Both Ashley and K.F.’s injuries may be addressed in this report in order to more completely
discuss the occupant kinematics during the March 17, 2014 accident event and the severity of the crash.



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on a valid input received by the SDM from the right front passenger’s occupant classification sensing
system. The crash event data indicated that the air bag warning lamp was off prior to the recorded crash
event, indicating the air bag system was functioning properly at the time of the crash. The SDM had also
recorded the driver’s and right front passenger’s seat belt statuses as buckled at the time of the crash
event, which is consistent with the police officers reporting that both Ashley and K.F. were belted
during the crash event.


During my inspection of the interior occupant compartment, I noted that both the driver and right front
passenger seat belt pretensioners, and the driver’s frontal air bag were deployed.                                The right front
passenger frontal air bag was not deployed. The driver’s and right front passenger’s seat belts had been
cut, and there was evidence of occupant loading on both of the seat belt guide loops (reference Figures 10
and 11).




  Figure 10 – Anderson Inspection Photo, fau_251kfa                      Figure 11 – Anderson Inspection Photo, fau_252kfa




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The driver’s and right front passenger’s seat belt pretensioners and driver’s frontal air bag deployed
appropriately and functioned as designed in the subject crash. The frontal air bag system and right front
passenger occupant classification (OC) passenger sensing system operated appropriately and as designed
by suppressing the deployment of the right front passenger air bag. The SDM received a valid input from
the OC passenger sensing system in the seat, that classified Kaitlyn as an occupant who was too small for
which the passenger air bag should be deployed.


The Federal Motor Vehicle Safety Standard (FMVSS) 208, mandates that vehicle manufacturers provide
specific information on warning labels and in the owner’s manuals about the dangers of deploying air bags.
Over the years, that warning label and owner’s manual wording has included statements such as, “Death
or serious injury can occur,” “Children can be killed or seriously injured by the air bag,” “Children 12 and
under can be killed by the air bag,” “Even with advanced air bags, children can be killed or seriously injured
by the air bag,” “The back seat is the safest place for children,” and “Never put a rear-facing child seat in
the front.” The air bag warning label displayed on the sunvisors for the driver and right front passenger in
the subject vehicle, 2012 Chevrolet Malibu, is shown in Figure 21.




                Figure 21 – 2012 Chevrolet Malibu Sunvisor Warning Label, Sadrnia Inspection Photo, fau_035hs




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19, 1997, for all passenger cars and LTV vehicles with a gross vehicle weight rating of 8500 lbs. or less.
General Motors immediately took advantage of this change in the regulation and quickly implemented
depowered frontal air bag systems that complied with the depowering rule of FMVSS 208, beginning with
some 1997 model year vehicles, in the interest of reducing the potential for inflation-induced injuries
associated with air bag deployments. As a follow-up to the FMVSS 208 Depowering Rule, and to continue
the purpose of trying to reduce the number of deaths and the severity of injuries to vehicle occupants, the
“Advanced Air Bag Rule” of FMVSS 208 was first published in the Federal Registrar on May 12, 2000, and
outlined a series of changes to the regulation and a model year phase-in schedule for these requirements
for the vehicle manufacturers. The “Advanced Air Bag Rule” included additional belted and unbelted test
conditions, the addition of the 5th% small adult anthropomorphic test device dummy (ATD), additional and
revised injury criteria for all ATDs, and a set of out-of-position test options for the 5th% Hybrid III small adult
ATD (in the driver’s position), 6-year-old Hybrid III ATD, 3-year-old Hybrid III ATD, and 12-month-old
CRABI ATD in a rearward facing infant seat, that required compliance with either automatic air bag
suppression or low risk air bag deployment technology.


The 2012 Chevrolet Malibu complied with sections 19.2, 21.2, and 23.2 of the November 12, 2008, Federal
Motor Vehicle Safety Standard 208 Final Rule (“Advanced Air Bag Rule”) by means of an automatic
suppression feature for the right front passenger air bag. For compliance to these sections, the Federal
standard requires that the automatic suppression feature result in deactivation of the right front
passenger’s frontal air bag for infants in rear facing and convertible child restraints or car beds, for 3-year-
old child dummies, and 6-year-old child dummies when tested to certain static test conditions. At the same
time, compliance to these sections of the FMVSS 208 standard requires that the right front passenger air
bag be activated when the automatic suppression feature detects the presence of an occupant the size of
the Hybrid III 5th% small adult anthropomorphic test device (ATD) specified in section 49 CFR Part 572,
Subpart O. The 2012 GMX386 Chevrolet Malibu FMVSS 208 compliance documentation, Performance
Assessment Committee (PAC) Reports, Frontal Sensing Performance Review reports, Passenger Sensing
System Final Performance Review reports, and GM’s Occupant Evaluation Consideration Book document
the considerations addressed in balancing the performance of the restraint system and the operation of the
suppression system in the GMX386 Chevrolet Malibu passenger car.


Government agencies and health organizations such as the National Highway Traffic Safety Administration
(NHTSA), Safe Kids Worldwide, and the American Academy of Pediatrics all specifically recommend that
children under the age of 13 years old ride in the back seat, using the appropriate child seat or vehicle


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lap/shoulder belt for their age and size. .) had just turned 11 years old at the time of the subject
crash, which occurred four days after her eleventh birthday. .)’s mother, Ashley, was driving the
subject vehicle, and .) was riding in the right front passenger seat at the time of the crash event. It is
recommended by government agencies and health organizations, that a child of .)’s age should be
properly belted in the back seat of a vehicle, because it is safer there.


CONCLUSIONS
It is my opinion, based on a reasonable degree of scientific certainty, that:


      The subject vehicle, 2012 Chevrolet Malibu, experienced an extremely severe frontal impact into a tree
       that enabled the frontal air bag sensing system and warranted deployment of the front seat belt
       pretensioners and driver’s frontal air bag.


      The sensing and diagnostic module (SDM) functioned as designed in the subject crash by suppressing
       deployment of the right front passenger’s frontal air bag due to a valid occupant classification message
       to suppress.

      The severity of the subject crash was a primary contributor to 11-year-old .)’s fatal injury.


      The development, design, and performance of the restraint systems in the 2012 Chevrolet Malibu,
       including the frontal air bag system, front seat belt systems, and right front passenger occupant
       classification suppression system, were reasonable and appropriate.


      The right front passenger air bag system in the 2012 Chevrolet Malibu was reasonably safe, and met
       the applicable Federal Motor Vehicle Safety Standards.

      The right front passenger occupant classification suppression system in the 2012 Chevrolet Malibu was
       reasonably safe, and met the applicable Federal Motor Vehicle Safety Standards.


In addition, I may offer historical information about the design and development of General Motors vehicles
in general, and of the 2012 Chevrolet Malibu in particular. This type of information also is described in the
reports to the Performance Assessment Committee and the Occupant Performance Evaluation
Considerations Book.



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My opinions are based on my education, my automotive industry experience as a field performance
assessment engineer and an occupant protection system development/design engineer and researcher for
over 27 years, and my review of the general information outlined above.                             The investigation into the
circumstances surrounding the crash event that occurred March 17, 2014, is ongoing, and my opinions
outlined above are based on the information available to me at this time. I reserve the right to amend my
opinions should additional information become available to me.


I am a salaried General Motors employee and received no additional compensation for my work on this
case. Any publications that I have authored during the last ten years are listed on my CV. If called at trial,
I may use any of the items identified above that I reviewed, documents produced in discovery, medical
records, and/or documents and items produced by other parties as exhibits to help explain my testimony.




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